
44 So.3d 642 (2010)
Adrian Francis WILLIAMS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-0311.
District Court of Appeal of Florida, First District.
September 7, 2010.
Adrian Francis Williams, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and Adrian F. Williams is hereby afforded a belated appeal from judgment and sentence in Duval County case number 2007-CF-14505-AXXX-MA. This court's case number 1D09-5050 is hereby reinstated.
The trial court is hereby directed to promptly determine whether appellant is entitled to proceed without payment of fees and costs and, if so, to enter an order of insolvency and appointing counsel for the appeal.
PETITION GRANTED.
DAVIS, BENTON, and CLARK, JJ., concur.
